 Case: 1:16-cv-08637 Document #: 2076 Filed: 04/15/19 Page 1 of 2 PageID #:94581



                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS




IN RE BROILER CHICKEN                                 Main Case No. 1:16-cv-08637
ANTITRUST LITIGATION
                                                     Related Case No. 1:18-cv-00245
This Document Relates To:

Winn-Dixie Stores, Inc. v. Koch Foods,               WINN-DIXIE’S NOTICE OF MOTION
Inc.                                                 FOR LEAVE TO FILE FIRST
                                                     AMENDED COMPLAINT



       PLEASE TAKE NOTICE that on April 23, 2019, at 9:00 a.m., or as soon as counsel may

be heard, the undersigned counsel will appear before the Honorable Judge Thomas M. Durkin, or

any judge sitting in his stead, in Room 1441 of the U.S. District Court of the Northern District of

Illinois, Eastern Division, 219 South Dearborn Street, Chicago, Illinois, and present Winn-Dixie’s

Motion for Leave to File First Amended Complaint, copies of which are hereby served upon

you.

Dated: April 15, 2019

                                                 Respectfully submitted,


                                                 /s/ Patrick J. Ahern
                                                 Patrick J. Ahern, Esq.
                                                 Theodore B. Bell, Esq.
                                                 Ahern & Associates, P.C.
                                                 Willoughby Tower
                                                 8 South Michigan Avenue
                                                 Chicago, IL 60603
                                                 Phone: (312) 404-3760
                                                 patrick.ahern@ahernandassociatespc.com

                                                 Attorneys for Winn-Dixie Stores, Inc. and Bi-Lo
                                                 Holdings, LLC
 Case: 1:16-cv-08637 Document #: 2076 Filed: 04/15/19 Page 2 of 2 PageID #:94582



                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 15th day of April, 2019, a true and correct copy of the foregoing

was electronically filed and served on counsel for all parties properly registered to receive notice

via the Court’s CM/ECF system.


                                                             /s/ Patrick J. Ahern
                                                             Patrick J. Ahern




                                                2
